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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 

PROFIT POINT TAX TECHNOLOGIES,
INC.,

Plaintiff, Civil Action No. 2:19-cv-698

v. Hon. William S. Stickman IV
Hon. Maureen P. Kelly
DPAD GROUP, LLP, JOHN MANNING, and
DANIEL STEELE,

Defendants.

 

 

ORDER OF COURT

Plaintiff, Profit Point Tax Technologies, Inc. (“PPTT”), a service company that works
with companies to calculate income tax incentives for federal income tax purposes, is pursuing
claims against Defendants DPAD Group, LLP (““DPAD”), John Manning (“Manning”), and
Daniel Steele (“Steele”) (collectively, “Defendants”) as a result of a dispute over who is owed
fees for specialized income tax services work performed. (ECF No. 27). Manning and Steele
are tax professionals who provide services related to domestic activity deductions under Section
199 of the Internal Revenue Code. Steele became an independent contractor of PPTT in 2006 or
2007, and Manning became an independent contractor of PPTT in 2011. In May 2015, Manning
and Steele formed their own tax services company, DPAD. PPTT’s claims (Count I — Breach of
Contract against Manning and Steele; Count II — Breach of Fiduciary Duty against Manning and
Steele; Count III — Unjust Enrichment against DPAD; Count VI — Intentional Misrepresentation
against Defendants; and Count VII — Negligent Misrepresentation against Defendants) arise from

Defendants’ alleged usurpation of PPTT’s business through the use of PPTT’s confidential
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information and other resources in soliciting PPTT’s clients. Defendants, in turn, are asserting
counterclaims against PPTT and its sole shareholder, Patrick Sweet (“Sweet’’), arising out of
allegedly unpaid fees on tax services projects. (ECF No. 101). Pending before the Court is
Defendants’ Motion for Summary Judgment on the First Amended Complaint (“Motion for
Summary Judgment”). (ECF No. 258).

The Honorable Maureen P. Kelly issued a Report and Recommendation recommending
that the Court grant Defendants’ Motion for Summary Judgment. (ECF No. 302). The parties
were given the opportunity to file Objections, and PPTT did so. (ECF No. 304). DPAD,
Manning and Steele then filed a Response to PPTT’s Objections. (ECF No. 306).

After its independent de novo review of the record and consideration of the pleadings of
the parties, the Court hereby ADOPTS Magistrate Judge Kelly’s Report and Recommendation as
its Opinion. The Court OVERRULES PPTT’s objections. It concurs with Magistrate Judge
Kelly’s thorough analysis of PPTT’s claims and her legal conclusions. The Court holds that
Count VI is barred by the statute of limitations. It further holds that Counts I, IJ, III and VII are
barred by the February 2, 2016 Master Fee Splitting Agreement and Release (the “Release”), and
that the alleged fraud (in the inducement of the Release) does not support invalidating the
Release.

AND NOW, this 27_ day of February 2023, IT IS HEREBY ODERED that Defendants’
Motion for Summary Judgment (ECF No. 258) is GRANTED. Summary judgment will be
entered in favor of Manning and Steele and against PPTT as to Counts I and II, in favor of
DPAD and against PPTT as to Count III, and in favor of Defendants and against PPTT at to

Counts VI and VII in the First Amended Complaint.
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A separate Judgment Order will follow.
BY THE COURT:
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WILLIAM 8. STICKMAN IV
UNITED STATES DISTRICT JUDGE
